Case 1:18-cv-00042-KJM Document 47 Filed 11/09/18 Page 1 of 3   PageID #: 916




 COX FRICKE LLP
 A LIMITED LIABILITY LAW PARTNERSHIP

 JOACHIM P. COX                  7520-0
    jcox@cfhawaii.com
 RANDALL C. WHATTOFF             9487-0
    rwhattoff@cfhawaii.com
 KAMALA S. HAAKE                 9515-0
    khaake@cfhawaii.com
 800 Bethel Street, Suite 600
 Honolulu, Hawai‘i 96813
 Telephone: (808) 585-9440
 Facsimile: (808) 275-3276

 Attorneys for Plaintiffs
 OHANA MILITARY COMMUNITIES, LLC and
 FOREST CITY RESIDENTIAL MANAGEMENT, LLC

               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAI‘I


OHANA MILITARY COMMUNITIES,               CIVIL NO. 18-00042 KJM
LLC and FOREST CITY
RESIDENTIAL MANAGEMENT,                   CERTIFICATE OF SERVICE
LLC,                                      [Re: (1) Plaintiff Ohana Military
                                          Communities, LLC’s First Request
                  Plaintiffs,             for Production of Documents and
                                          Things to Defendant Cara Barber; and
      vs.
                                          (2) Plaintiff Ohana Military
                                          Communities, LLC’s First Request
CARA BARBER,                              for Answers to Interrogatories to
                  Defendant.              Defendant Cara Barber]


                                          TRIAL:    June 12, 2019
Case 1:18-cv-00042-KJM Document 47 Filed 11/09/18 Page 2 of 3         PageID #: 917




                         CERTIFICATE OF SERVICE

            I hereby certify that, on this date and by the methods of service noted

below, a true and correct copy of (1) Plaintiff Ohana Military Communities, LLC’s

First Request for Production of Documents and Things to Defendant Cara Barber;

and (2) Plaintiff Ohana Military Communities, LLC’s First Request for Answers to

Interrogatories to Defendant Cara Barber was served on the following at their last

known addresses:

      Served By Hand Delivery (original and one copy):

      Bradford F.K. Bliss, Esq.
      Lyons, Brandt, Cook & Hiramatsu
      1800 Davies Pacific Center
      841 Bishop Street
      Honolulu, HI 96813

      Served By Hand Delivery (one copy):

      P. Kyle Smith, Esq.
      Law Offices of Ian L. Mattoch
      Pacific Guardian Center
      737 Bishop Street, Suite 1835
      Honolulu, Hawaii 96813




                                        2
Case 1:18-cv-00042-KJM Document 47 Filed 11/09/18 Page 3 of 3    PageID #: 918




     Served By United States Mail, Postage Prepaid (one copy):

     Terrance M. Revere, Esq.
     Pali Palms Plaza
     970 N. Kalaheo Ave., Suite A301
     Kailua, HI 96734

     Attorneys for Defendant
     CARA BARBER

            DATED: Honolulu, Hawai‘i, November 9, 2018.

                                 /s/ Randall C. Whattoff
                                 JOACHIM P. COX
                                 RANDALL C. WHATTOFF
                                 KAMALA S. HAAKE
                                 Attorneys for Plaintiffs
                                 OHANA MILITARY COMMUNITIES, LLC
                                 and FOREST CITY RESIDENTIAL
                                 MANAGEMENT, LLC




                                       3
